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11                            UNITED STATES DISTRICT COURT
12                          SOUTHERN DISTRICT OF CALIFORNIA
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14     IN RE: OUTLAW LABORATORIES, LP                  Case No.: 3:18-cv-0840-GPC-BGS
       LITIGATION,
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                                                       AMENDED JURY TRIAL
16                                                     PREPARATION AND SCHEDULING
                                                       ORDER
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20          A pretrial status conference was held on July 15, 2022. ECF No. 408. After
21    discussing trial-related issues with counsel, the Court ORDERS the following:
22                                         JURY TRIAL
23          The Court sets the trial in this matter for March 14, 2023 at 8:30 a.m. The trial will
24    last approximately five days.
25                                    JURY INSTRUCTIONS
26          The parties shall file and email, in Word format, to the Court’s email address at
27    efile_curiel@casd.uscourts.gov the joint proposed jury instructions and special verdict
28    forms, including any objections on or before March 1, 2023.

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 1                                      TRIAL NOTEBOOK
 2          The parties are directed to submit directly to chambers, on or before March 1, 2023,
 3    a tabbed joint trial notebook containing a table of contents and hard copies of the following
 4    documents,     all   of   which   should    also   be   filed   using   the    Court’s    Case
 5    Management/Electronic Case Filing (CM/ECF) system unless otherwise indicated:
 6          1.     The operative pleading complaint, cross complaint, and third party complaint,
 7    and answers;
 8          2.     Separate trial briefs, not to exceed twenty pages in length;
 9          3.     If the parties wish, proposed voir dire questions to be asked by the Court;
10          4.     A joint statement of the case in a form suitable to be read to the jury, including
11    any objections;
12          5.     Any stipulations or agreements, in a form suitable to be read to the jury;
13          6.     A joint witness list in table format, including columns designated for the party
14    that will be calling the witness, time estimates for direct and cross-examination, and a brief
15    description of each witness's testimony;
16          7.     A joint list of deposition designations, if any;
17          8.     A joint exhibit list in table format, including columns designated for exhibit
18    numbers, a description of the exhibits, whether the admissibility of an exhibit is disputed,
19    the date an exhibit is marked, and the date an exhibit is admitted; and
20          9.     Joint proposed general and/or special verdict forms, including any objections.
21          IT IS SO ORDERED.
22    Dated: July 18, 2022
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